             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL NO. 1:07CV127-1-T
                               (1:02CR04)


HARRY NOLAN MOODY,                        )
                                          )
                 Petitioner,              )
                                          )
           v.                             )     MEMORANDUM AND
                                          )        ORDER
UNITED STATES OF AMERICA,                 )
                                          )
              Respondent.                 )
______________________________            )


     THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255, filed April 9,

2007; Respondent’s motion for summary judgment, filed July 3, 2007; and

Petitioner’s response thereto, filed September 4, 2007. For the reasons

stated herein, the Government’s motion is granted and Petitioner’s motion

to vacate is denied and dismissed.



                        I. PROCEDURAL HISTORY

     On January 9, 2002, Petitioner and six other individuals were

charged in a three-count indictment with possession of pseudoephedrine


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and ethyl ether with intent to manufacture methamphetamine and aiding

and abetting that offense in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2

(Count One); conspiracy to possess pseudoephedrine and ethyl ether with

intent to manufacture more than 50 grams of methamphetamine in violation

of 21 U.S.C. §§ 841 and 846 (Count Two); and conspiracy to manufacture

and distribute more than 50 grams of methamphetamine in violation of 21

U.S.C. §§ 841 and 846 (Count Three). Bill of Indictment, filed January

9, 2002. The indictment also charged Petitioner with committing these

offenses after having been convicted of the felony drug offense of

possession of a controlled substance in the state court of Henderson

County, North Carolina, in 1975. Id. The same day the indictment was

filed, the Government filed an information pursuant to 21 U.S. C. § 851

noticing therein the Petitioner’s previous conviction for a felony drug

offense on February 12, 1975, in Henderson County Superior Court

Division, for “possession of methamphetamine.” Information Pursuant to

21 U.S.C. § 851, filed January 9, 2002. Subsequently, the Government

amended the § 851 notice by alleging that Petitioner had a previous

conviction in 1975 for “possession of Schedule II controlled substance.”

Amended Information Pursuant to 21 U.S.C. § 851, filed May 2, 2002.



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      On July 15, 2002, after a four day trial, Petitioner was convicted on

Count Three.1 Verdict Sheet, filed July 15, 2002. On March 27, 2003,

this Court sentenced Petitioner to a 360 months imprisonment and eight

years of supervised release. Judgment of Conviction in a Criminal

Case, filed April 10, 2003.

      Petitioner filed a notice of appeal of his conviction and sentence.2

Notice of Appeal, filed May 15, 2003. On appeal Petitioner argued:

prosecutorial misconduct in the form of improper closing remarks denied

him a fair trial; the district court erred in admitting hearsay testimony by an

investigator about Petitioner’s wife; the district court erred in admitting a

co-conspirator’s statement that was made outside the scope of the

conspiracy; and the district court abused its discretion in refusing to

instruct the jury as to the proper use of admitted evidence pursuant to Rule

404(b). United States v. West, 98 F. App’x 259 (4th Cir. 2003). Petitioner

filed a supplemental appeal brief challenging, among other things, the

determination that he was a career offender. Id. at 261. On June 3, 2004,

      1
       The Government dismissed Counts One and Two of the indictment
during the trial.

      The Defendant’s notice of appeal was deemed timely filed, the
      2

Defendant having shown good cause for the late filing. See Order, filed
June 12, 2003.


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the Fourth Circuit Court of Appeals affirmed Petitioner’s sentence and

conviction. Id.

      Petitioner was granted a writ of certiorari by the Supreme Court.

West v. United States, 543 U.S. 1108 (2005). The Supreme Court

vacated and remanded the case to the Fourth Circuit for further

consideration in light of United States v. Booker, 543 U.S. 220 (2005). On

May 24, 2006, the Fourth Circuit affirmed Petitioner’s sentence, holding

that the district court did not plainly err in applying the sentencing

guidelines as mandatory. United States v. Moody, 178 F. App’x 311, 312

(2006).

      Petitioner timely filed this motion to vacate alleging: 1) numerous

claims of ineffective assistance by his trial counsel; 2) a prosecutorial

misconduct claim; 3) a Confrontation Clause claim; and 4) that the Court

erred in denying a motion for a psychological evaluation.



                                II. ANALYSIS

A. Confrontation Clause Claim

      On direct appeal, through counsel and through his pro se

supplemental brief, Petitioner claimed his Confrontation Clause rights were




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violated by the admission of testimony about an out-of-court statement by

co-Defendant Walter Anthony West. Petitioner acknowledges this claim

was raised and denied on direct appeal. See West, 98 F. App’x at 260-

61. It is well settled that the Fourth Circuit’s ruling precludes this Court’s

review of this same claim. See Boechenhaupt v. United States, 537

F.2d 1182, 1183 (4th Cir. 1976) (issues fully litigated on direct appeal

may not be relitigated in a subsequent § 2255 action). Petitioner’s

request to revisit issue does not provide the Court with any basis for

reviewing this claim. Consequently, Petitioner’s claim on this basis is

dismissed.



B. Prosecutorial Misconduct Claim

      Petitioner also alleges the Government knowingly used the perjured

testimony of Donna Moody, Sergeant Steve Carter, and Special Agent

Brian Delmas.

      Although Petitioner raised other prosecutorial misconduct claims on

appeal, through counsel and through his own pro se supplemental brief, he

did not raise this claim. In order to collaterally attack a conviction or

sentence based upon errors that could have been, but were not, pursued




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on direct appeal, a petitioner must show cause and actual prejudice

resulting from the errors complained of, or must demonstrate that a

miscarriage of justice would result from a refusal to entertain a collateral

attack. See United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir.

1999) (citing United States v. Frady, 456 U.S. 152, 167-68 (1982)).

Petitioner stated he did not raise this claim on direct appeal because “the

knowing use of perjured testimony is best raised in a 2255 motion.”

      At a minimum, Petitioner has not established that the testimony

offered by these individuals was false. The Court has carefully reviewed

the arguments put forth by Petitioner in support of his perjury contention

and is wholly unpersuaded that his arguments support a conclusion that

the Government knowingly permitted the use of false testimony.

Testimony partially inconsistent with other evidence does not constitute

perjured testimony. Nor does conflicting testimony establish the existence

of perjury. Indeed, it is the province of the jury to determine the

truthfulness of a witness. Consequently, even if Petitioner establishes

cause for failing to raise this issue on appeal, Petitioner’s prosecutorial

misconduct claim fails on the merits.




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C. Denial of Motion for Expert Services

      Petitioner also alleges the Court erred in denying his wife and co-

Defendant Donna Moody’s motion for an independent psychological

examination because, according to the Petitioner, “[s]he was obviously in

need of help.” Petitioner’s Motion, at 22. Again, Petitioner did not raise

this claim on direct appeal. As such, for the reasons stated above,

Petitioner has procedurally defaulted this claim. See Mikalajunas, 186

F.3d at 492-93.

      Petitioner attempts to excuse his procedural default by asserting that

his appellate counsel was ineffective for failing to raise this issue on direct

appeal. Petitioner’s Motion, at 9, 22.3 Petitioner’s blanket assertion that

this Court ruled contrary to unidentified precedent4 is wholly insufficient to


      3
       All page number references to Petitioner’s motion are to the Court’s
pagination of the document as shown in the electronic docket system.
      4
        In his response to the Government’s motion, Petitioner references,
without analysis, the Supreme Court decision of Ake v. Oklahoma. In Ake,
the Supreme Court held that a criminal defendant whose sole defense was
insanity, who exhibited bizarre behavior at arraignment, who was
determined by a state psychiatrist to be incompetent to stand trial and was
later determined to be competent if placed on large doses of Thorazine,
was entitled to the assistance of a court-appointed psychiatrist. Ake v.
Oklahoma, 470 U.S. 68, 86 (1985). Donna Moody’s request for a
psychological examination was not based on insanity; therefore, this
Court’s denial of her motion does not contravene the holding in Ake.


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establish the merit of his argument and as such he cannot establish he

was prejudiced by his counsel’s failure to raise this issue. Consequently,

Petitioner cannot establish cause to excuse his procedural default, that is,

he has not established that his counsel was ineffective for failing to raise

this issue on appeal.



D. Ineffective Assistance of Counsel

      Petitioner contends he received ineffective assistance of counsel. In

order to succeed on an ineffective assistance of counsel claim, a petitioner

must establish that counsel’s performance was constitutionally defective to

the extent it fell below an objective standard of reasonableness, and that

he was prejudiced thereby, that is, there is a reasonable probability that but

for the error, the outcome would have been different. Strickland v.

Washington, 466 U.S. 668, 687-91 (1984). In making this determination,

there is a strong presumption that counsel’s conduct was within the wide

range of reasonable professional assistance. Id. at 689; Fields v.

Attorney General of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1995).

Petitioner bears the burden of proving Strickland prejudice. Fields, 956




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F.2d at 1297. If the petitioner fails to meet this burden, a “reviewing court

need not consider the performance prong.” Id. at 1290.



      1. Failure to Request Suppression Hearing

      Petitioner alleges that his counsel was ineffective for failing to

request a suppression hearing with regard to the statement and testimony

of his wife and co-Defendant, Donna Pace Moody. Petitioner asserts that

his wife had an “obvious need for psychiatric treatment and/or evaluation”

and her “complete mental breakdown” after finding Petitioner with another

woman should have been investigated and used to suppress her

testimony.5

      Petitioner cannot establish that his counsel’s performance was

deficient. A review of the record reveals that counsel for Petitioner’s co-

Defendant Walter West did raise the issue of Donna Moody’s mental

health and how that might impact her ability to testify. Transcript of Trial

Testimony, Vol. I, filed November 21, 2002, at 123-26. In response, the


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        Petitioner also raises the issue that his counsel should have moved
to suppress Donna Moody’s statement. In his § 2255 motion, however,
Petitioner provides no basis whatsoever for suppressing her statement. To
the extent this claim is also based upon her alleged mental health, his
allegations provide no basis for suppressing her statement.


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Court reviewed her pretrial and presentence materials and determined

there was no information contained therein to indicate Donna Moody had in

the past or presently suffered from mental health problems. Id. at 123-24.

West’s counsel then requested that these documents be sealed and

placed in the record for appellate purposes. Id. at 124. Petitioner provides

no additional information that his counsel should have presented that

would have changed this ruling.

      Neither can Petitioner establish he was prejudiced by his counsel’s

failure to request a motion to suppress. Petitioner’s conclusory allegations

are insufficient to support his ineffective assistance of counsel claim. See

Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992) (“[A] habeas

petitioner must come forward with some evidence that the claim

might have merit. Unsupported, conclusory allegations do not entitle

a habeas petitioner to an evidentiary hearing.”).

      Indeed, all witnesses are presumed competent to testify and may

only be disqualified if the witness does not have knowledge of the matters

about which he or she is to testify, lacks the capacity to recall the events

about which he or she is to testify, or does not understand the duty to

testify truthfully. United States v. Odom, 736 F.2d 104, 112 (4th Cir.



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1983); see also, Fed. R. Evid. 601. Petitioner presents no specific facts

to support a conclusion that Donna Moody did not have knowledge of the

matters about which she testified, that she lacked the capacity to recall the

events about which she testified, or that she did not understand the duty to

testify truthfully. Nor does Petitioner cite to case law supporting the

proposition that defense counsel could have moved to have a psychiatric

examination of a Government witness. The fact that Donna Moody may

have at times during her testimony stated that she did not understand a

question, in no way reflects upon her ability to testify.6 Rather, such

statements are for the jury to weigh in determining her credibility and

reliability.



       2. Failure to Call Exculpatory Witnesses

       Petitioner alleges that his counsel was ineffective for failing to call

Mike Elliot, an agent of the North Carolina State Bureau of Investigation, to

testify. Petitioner asserts that Elliot was a witness when Petitioner gave his


       6
         A review of the transcript reveals that Donna Moody answered the
majority of counsel’s questions without clarification; however, the transcript
shows a few of counsel’s questions were unclear, but Moody answered
those questions once they were reworded. See e.g., Trial Transcript,
Vol. I, supra, at 94, 95, 99, 105.


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statement to Sergeant Carter and could therefore testify that Carter’s

version of Petitioner’s statement was untrue.

      Petitioner provides no evidence to support a conclusion that if called

to testify Elliot would have testified that Carter’s version of Petitioner’s

statement was untrue. Consequently, Petitioner’s claim is based upon

speculation alone and his claim is dismissed on that basis. Nickerson,

971 F.2d at 1136.

      Petitioner also alleges that his counsel was ineffective for failing to

call Robert Edwards, Petitioner’s landlord in Mill Springs, North Carolina,

who could allegedly have testified where Petitioner and Donna Moody were

residing during the summer of 2001. Petitioner states such testimony

would have proven that he lived in Mill Springs and not in Saluda, the site

of the methamphetamine lab.

      Petitioner also alleges that his counsel was ineffective for failing to

call Kimberly Wilson of the Polk County Social Services and two

unidentified Polk County deputies as witnesses. Petitioner states that their

testimony would have directly refuted Donna Moody’s testimony that

Petitioner was living in Saluda and making methamphetamine.




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      Again, Petitioner provides no evidence to support to what these two

individuals would have testified. As such, Petitioner’s claim is again based

upon speculation alone. Id.

      Moreover, all of this allegedly available testimony that Petitioner lived

in Mill Springs in the summer of 2001 is irrelevant; that is, even if he

demonstrated through these witnesses that he lived in Mill Springs during

the time period in question, that evidence would not have been

inconsistent with the testimony at trial that he also cooked

methamphetamine in Saluda and lived there as well during that same time

period.7 While additional evidence may have supported a conclusion that

during the time period in question he maintained a residence and lived in

Mill Springs, evidence also supports a conclusion that he lived in Saluda.8




      7
        Petitioner testified at trial that Mill Springs and Saluda are only 15
miles apart. Trial Transcript, Vol. III, filed November 21, 2002, at 547.
      8
         The conspiracy charged in the indictment covered “from in or
around January, 2001 and continuing until on or about December 5, 2001.”
Bill of Indictment, supra. Petitioner testified that he lived in Saluda until
May 2001, and moved back to Saluda in September 2001 when the power
was cut off at the Mill Springs residence when Petitioner was unable to pay
the electric bill. Trial Transcript, Vol. III, supra, at 528, 549, 554-55.


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      3. Failure to Introduce Exculpatory Evidence

      Petitioner also alleges that his counsel was ineffective for failing to

introduce certain telephone records of himself and co-Defendant Ricky

Barkley. Petitioner asserts that these records were critical because they

demonstrate that no calls were placed between Petitioner and Barkley or

between Petitioner and any of his co-Defendants.

      Again, Petitioner cannot establish that he was prejudiced by his

counsel’s alleged failure to introduce the records at issue. The omission of

the records referred to by Petitioner does not support a claim of ineffective

assistance of counsel as Petitioner cannot establish prejudice. First, the

evidence of guilt was overwhelming. West, 98 F. App’x at 260 (“We . . .

conclude that overwhelming and independent evidence supports

Moody’s conviction.”). Equally as significant is the fact that there was no

testimony at trial suggesting the parties regularly communicated by cell

phone and as such the phone records are not exculpatory.

      In support of his claim, Petitioner attaches a copy of Cingular

wireless records for Petitioner’s prepaid account. These records cover the

time period from November 1, 2001, to January 14, 2002. Petitioner also




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attaches a copy of Barkley’s MCI Worldcom wireless telephone records

which cover the time period from December 2000 to April 2001.

      Regardless of whether or not these records were introduced,

Petitioner’s claim on this basis fails because he cannot establish that he

was prejudiced. First, these records only cover a small portion of the

alleged time frame of the conspiracy, i.e., “from in or around January, 2001

and continuing until on or about December 5, 2001.” Bill of Indictment,

supra. Second, these phone records only show communication between

Petitioner and one other co-conspirator and, at most, establish only that

Barkley did not call Petitioner between December 2000 to April 2001.

These phone records cover a time period after the discovery of the first

methamphetamine lab. Petitioner does not cite to any specific testimony

stating that Petitioner and Barkley called each other as part of the

conspiracy. However, Donna Moody testified that sometimes Petitioner

would call co-Defendant Walter West about obtaining methamphetamine.

Trial Transcript, Vol. I, supra, at 71-72. However, no precise time frame

was attached to these calls. Moreover, these calls were not linked to the

existence of the conspiracy, but were instead related to Petitioner obtaining

methamphetamine from West – not the manufacturing of




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methamphetamine. Id. Consequently, had these phone records been

introduced at trial, they were not exculpatory and Petitioner has failed to

establish that he was prejudiced. That is, he has not established that a

reasonable probability exists that if these records had been introduced the

outcome of the trial would have been different. Strickland, 466 U.S. at

689.



       4. Failure to Review Discovery Materials

       Petitioner also alleges that his counsel was ineffective for failing to

review his and Ricky Barkley’s phone records. For the reasons stated

above, this claim fails as well.

       Petitioner also alleges that his counsel was ineffective because he

failed to recognize that testimony by Donna Moody conflicted with physical

evidence introduced at trial. More specifically, Petitioner asserts that

Donna Moody’s testimony that “when [Petitioner’s] tank got gone, he was

just in a mad rage,” conflicted with the evidence that an ammonia tank was

found at the lab site by the police. Trial Transcript, Vol. I, supra, at 86.

A review of the transcript reveals that no conflict existed. Donna Moody

testified that Petitioner became angry after the police confiscated his tank.




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Id. ([Petitioner] was asking me about his tank, threatening to kill me if

he didn’t get his tank back. And I told him to call Steve Carter, that he

wanted to talk to him, that he was the one that had his tank.”).

Consequently, trial counsel’s representation of Petitioner was not deficient

and he was not prejudiced thereby.

      Petitioner also alleges that his counsel was ineffective for failing to

review the fingerprint report which showed that West’s and Barkley’s

fingerprints were on many of the seized items. Petitioner asserts that this

failure resulted in his counsel failing to recognize Agent Delmas’ false

testimony.

      Petitioner does not precisely identify the alleged false nature of the

Delmas’ testimony. In his response to the Government’s motion for

summary judgment, Petitioner states that had his counsel reviewed the

fingerprint report he would have brought out the testimony that Barkley and

West’s fingerprints were on the many of the seized items. At trial,

however, Delmas specifically testified that West’s fingerprints were found

on many of the items seized at the lab. Trial Transcript, Vol. III, supra, at

461-62. Moreover, Petitioner’s counsel elicited from Agent Delmas on




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cross-examination that Petitioner’s fingerprints were located only on a few

items. Id. at 454.

      A review of the cross-examination of Agent Delmas clearly reveals

that, notwithstanding Petitioner’s contention to the contrary, Petitioner’s

counsel had reviewed the discovery material involving the fingerprint

evidence. Id. at 438-60. As such, Petitioner’s counsel’s performance was

not deficient on this issue. Moreover, Petitioner has not established how

he was prejudiced; that is, he fails to establish that Delmas’ testimony was

untruthful and does not set forth any missing testimony that, if revealed,

would have altered the outcome of the trial.



      5. Failure to Impeach Key Government Witnesses

      Petitioner also alleges that his counsel was ineffective for failing to

impeach Donna Moody with her power bills from Rutherford Electric

Membership. Petitioner asserts that these records would have established

an account with the power company in his name for the Mill Springs

residence for the entire summer of 2001. Petitioner states these same bills

should have been used to impeach Sergeant Carter’s testimony as well.

Petitioner also asserts that his counsel should have impeached Sergeant




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Carter’s testimony when he testified that Petitioner had told him that he

lived at the Saluda lab site.

      Again, the fact that evidence existed to show Petitioner maintained a

residence in Mill Springs, North Carolina, is not inconsistent with the

testimony that he also lived in Saluda at times and, more importantly, that

he used the residence in Saluda - titled in his relatives’ names – to

manufacture methamphetamine. Petitioner has not established that the

introduction of this evidence would have resulted in a reasonable

probability that the outcome of his trial would have been different. As such,

at a minimum, Petitioner was not prejudiced by his counsel’s failure to

introduce these records at trial.

      Petitioner also alleges that his counsel should have impeached

Sergeant Carter’s testimony that Petitioner admitted to him that he brought

the ammonia tank from Mauldin, South Carolina, to Saluda. Petitioner

asserts that Carter’s testimony about how he tracked down the owner of

the ammonia tank in November, conflicts with his testimony that Petitioner

told him where the tank came from. Compare Trial Transcript, Vol. I,

supra, at 28-30 with Trial Transcript, Vol. III, supra, at 618-19.

Petitioner’s assertion that a police officer independently verifying




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information supplied by a suspect is impeachment evidence is completely

meritless. His ineffective assistance of counsel claim asserted on this

basis is likewise without merit.



      6. Failure to Request a Buyer-Seller Instruction

      Petitioner also alleges that his counsel was ineffective for failing to

request a buyer-seller instruction. Petitioner contends that although there

was testimony that Petitioner bought or traded for methamphetamine, his

counsel failed to request such an instruction.

      A buyer-seller instruction is not necessary where the evidence

supports a conclusion that the defendant not only bought and sold a

controlled substance, but also assisted in its transportation or storage.

United States v. Mills, 995 F.2d 480, 485 (4th Cir. 1993). In the instant

case nearly all of the evidence went to Petitioner’s participation in the

manufacturing of methamphetamine, not to his sale or purchase of the

drug. As such, because the evidence did not support a conclusion that

Petitioner was only a buyer or seller, such an instruction was not

warranted. Petitioner’s counsel was not deficient for failing to request such

an instruction and Petitioner was not prejudiced.




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      7. Failure to Object to Closing Argument

      Petitioner also alleges that his counsel was ineffective for failing to

object to the Government’s reference during closing argument to evidence

that had been excluded during trial. Trial Transcript, Vol. III, supra, at

302. The excluded testimony was a portion of West’s out-of-court

statement to Officer Jeffrey Patterson with the Henderson County Sheriff’s

Narcotic Unit in which West stated he left a larger ammonia tank with

Petitioner to use, while he took a smaller tank back to South Carolina. Id.

at 301-02.

      Regardless of whether Petitioner’s counsel should have objected,

Petitioner has not established that he was prejudiced by counsel’s failure

to do so. This Court specifically instructed the jury that counsel’s

arguments were not evidence. See Transcript of Closing

Arguments/Jury Charge, filed June 25, 2003, at 48, 65. In addition, the

evidence produced at trial against the Petitioner was considerable,9 and he

presents no specific argument as to how an objection by his counsel would

have led to a reasonable probability that but for the alleged error the


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       See West, 98 F. App’x at 260 (“We . . . conclude that
overwhelming and independent evidence supports Moody’s
conviction.”).


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outcome would have been different. Consequently, Petitioner has failed to

carry his burden of establishing that he was prejudiced. See Miller v.

United States, 261 F.2d 546, 547 (4th Cir. 1958) ( a petitioner bears the

burden of establishing his collateral claim by a preponderance of the

evidence).



      8. Failure to Inform Petitioner of Amended § 851 Notice

      Petitioner alleges that his counsel was ineffective for failing to inform

him that an amended § 851 notice had been filed. In addition, Petitioner

alleges that his counsel did not ensure Petitioner received a hearing and

explanation as required by statute.

      The Government filed an amended § 851 notice on May 2, 2002.10

The only difference between the original notice and the amended notice

was that the original notice referred to a conviction for possession of

methamphetamine11 while the amended notice only referred to a conviction

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         Petitioner does not allege, and the record does not support a
finding, that the Government did not comply with the notice requirements of
§ 851(a). See 21 U.S.C. § 851(a) (“before trial . . . the United States
attorney files an information with the court (and serves a copy of
such information on the person or counsel for the person) . . . .”).

      The indictment listed this predicate offense for the statutory
      11

enhancement as a conviction for possession of a Schedule II controlled


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for possession of a “Schedule II controlled substance.” The date of

conviction, the county of conviction, and the nature of the offense were all

the same.

      At a minimum, Petitioner’s ineffective assistance of counsel claim

fails because he cannot establish that he was prejudiced. In order to

prevail on his ineffective assistance of counsel claim Petitioner must

establish that a reasonable probability exists that but for counsel’s alleged

error the outcome of the criminal proceeding would have been different.

Significantly, Petitioner never asserts that he was not convicted in 1975 of

possession of a Schedule II controlled substance or that such conviction

did not qualify as a predicate offense for statutory enhancement

purposes.12 As such, even if counsel had informed Petitioner about the

amended § 851 notice, his counsel would have had no basis for

challenging the substance of that notice. See e.g., Vongkaysone v.

United States, 2007 WL 844620 (D. Me. 2007) (dismissing claim based

upon counsel’s failure to challenge predicate § 851 conviction where



substance. Bill of Indictment, supra.
      12
        Petitioner does not contend that the Government did not comply
with the notice provisions of § 851(a). Moreover, the record supports a
conclusion that the Government complied with the notice provision.


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no evidence to support a conclusion that a basis existed for

challenging the conviction).

      This Court finds Petitioner’s blanket assertion that he raised an

objection at his arraignment to the use of the methamphetamine conviction

and, therefore, believed the issue to be resolved, is unavailing. First,

Petitioner presents no specific facts to support that it was reasonable for

him to make such an assumption. More significantly, Petitioner does not

contest that he did in fact have a qualifying conviction for an enhanced

statutory sentence. As such, Petitioner is still left with no basis for

challenging the use of this prior conviction. Interestingly, at sentencing

Petitioner did not raise an objection to the statutory enhancement of his

sentence. Nor, did Petitioner raise an objection on this basis in the pro se

supplemental brief he filed with the Fourth Circuit.

      Petitioner also asserts that his counsel was ineffective for failing to

ensure that the Court complied with the inquiry required by § 851(b). As

Petitioner did not have any basis for challenging the predicate conviction

used to statutorily enhance his sentence, Petitioner fails to establish that

he was prejudiced by this oversight. See e.g., United States v. Cave, 203

F. App’x 536, 538-39 (4th Cir. 2006) (dismissing appeal for failure to




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demonstrate prejudice or ineffective assistance of counsel even

though district court had not inquired about his prior convictions as

required by § 851(b)); United States v. Romero-Carrion, 54 F.3d 15, 18

(1st Cir. 1995) (agreeing with all circuits to consider the issue that

defects in § 851 colloquy are reviewed on appeal subject to harmless

error). Consequently, this claim is dismissed.



      9. Failure to Investigate Prior Convictions

      Petitioner alleges that his counsel was ineffective for failing to

investigate and confirm that Petitioner might not have been represented by

counsel with regard to two of the three predicate state court convictions

used to classify him as a career criminal. Petitioner asserts that the

presentence report makes it apparent that he did not have counsel with

regard to two of his three predicate offenses.

      Petitioner does not carry his burden on this claim of establishing that

he was prejudiced. Notwithstanding Petitioner’s assertion to the contrary,

the presentence report does not support the conclusion that Petitioner was

not represented by counsel with regard to two of the three state court

predicate offenses. In fact, the presentence report specifically sets forth



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that since 1973 the North Carolina courts have been statutorily required to

notify defendants who are potentially subject to any term of imprisonment

of their right to counsel and that in all North Carolina convictions the

defendant is presumed to have been represented by counsel or to have

knowingly waived representation.

      Petitioner has attached printouts regarding the state court convictions

at issue to his response to the Government’s motion for summary

judgment and asserts that he was not represented by counsel during those

proceedings. Petitioner also avers in his affidavit that he was not

represented by counsel for these two prior state court convictions. See

Petitioner’s Affidavit, dated August 28, 2007, attached to Petitioner’s

Response to Government’s Motion for Summary Judgment, filed

September 4, 2007, ¶ 10. The Court has reviewed these printouts and

concludes they do not establish that Petitioner did not waive his right to an

attorney. Moreover, the Court obtained a copy of Petitioner’s state court

judgment for the predicate conviction listed in paragraph 79 of his

presentence report.13 This judgment, contrary to Petitioner’s sworn

affidavit, clearly indicates he had appointed counsel. As such, Petitioner

      13
        The Court will direct that the Clerk file these documents as part of
the record herein.


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has not carried his burden of establishing that he was prejudiced.

Consequently, his ineffective assistance of counsel claim on this basis

fails.



                                 III. CONCLUSION

          A review of the record reveals that Petitioner’s trial counsel

vigorously represented Petitioner during his criminal proceedings.

However, despite counsel’s best efforts, the overwhelming evidence

against Petitioner resulted in his ultimate conviction. Moreover, the Court

notes that the Sixth Amendment does not mandate that a defendant

receive a perfect trial, but one which is free from constitutional error. See

United States v. Hasting, 461 U.S. 499, 508-09 (1983) (“taking into

account the reality of the human fallibility of the participants, there

can be no such thing as an error-free, perfect trial, and . . . the

Constitution does not guarantee such a trial.”); Delaware v. Van

Ardsall, 475 U.S. 673, 681 (1986) (noting that a criminal defendant is

entitled to a “fair trial, not a perfect one”).




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                                IV. ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside, or correct sentence is DENIED. A Judgment dismissing this

action is filed herewith.

      IT IS FURTHER ORDERED that the Clerk file and incorporate into

the record herein the Judgment and Commitment order of the State of

North Carolina versus Harry Nolan Moody, File Nos. 87CRS2357,

87CRS2358, and 87CRS2359, dated November 13, 1987.

                                     Signed: August 20, 2009




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